     Case 3:15-cr-00012-REP Document 91 Filed 03/24/15 Page 1 of 4 PageID# 240


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION



UNITED STATES OF AMERICA,


v.                                                    CRIMINAL CASE NO. 3:15-CR-00012-001



JOHN POLHILL,
                               Defendant.



          REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

         This matter is before the Court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written plea

agreement that has been entered into by the United States and the Defendant. The matter was

presentedto the Court upon the written consent of the Defendant and counsel for the Defendantto

proceed before a United States Magistrate Judge, said consent including the Defendant's

understanding that he consented not only to having the Magistrate Judge conduct the hearing, but

also to having the Magistrate Judge make necessary findings and accept any guilty plea as may be

entered that could not be withdrawn except for a fair and just reason.

              The Defendant pled guilty to Counts ONE (1) and TWO (2) of the Superseding

Indictment in open court and pursuant to a Rule 11 inquiry. Upon consideration of the responses

and statements made by the Defendant under oath, on the record, and based upon the written plea

agreement and statement of facts presented, the Court makes the following findings:

         1.        That the Defendant is competent to enter a plea of guilty;

         2.        That the Defendant understands the nature of the charge against him to which his

                   plea is offered;
Case 3:15-cr-00012-REP Document 91 Filed 03/24/15 Page 2 of 4 PageID# 241
Case 3:15-cr-00012-REP Document 91 Filed 03/24/15 Page 3 of 4 PageID# 242
Case 3:15-cr-00012-REP Document 91 Filed 03/24/15 Page 4 of 4 PageID# 243
